Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 1 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 2 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 3 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 4 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 5 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 6 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 7 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 8 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 9 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 10 of 12
Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 11 of 12
         Case 1:15-cv-00701-JWF Document 217 Filed 01/24/22 Page 12 of 12




appropriate and justified.         Based on the unique posture of this

case,    I concur.      If my determination as to the viability of

plaintiff's RICO claim was erroneous, absent Rule 54(b) relief,

this case would have to be tried again with the RICO cause of

action reinstated, an event that would be inefficient and costly.

Accordingly, the Court concludes that entry of a partial final

judgment pursuant to Rule 54(b) is appropriate with respect to

plaintiff's civil RICO claim predicated on mail and wire fraud.

                                  CONCLUSION

        For the reasons stated above,        the Court GRANTS plaintiff

Douglas J. Horn's Rule 54(b) motion (Docket# 208).             The Clerk of

Court is directed to enter partial final judgment on Douglas J.

Horn's civil RICO claim predicated on mail and wire fraud, which

the Court dismissed in its September 14, 2021 Decision              &   Order.

See Docket# 206.

SO ORDERED.




                                                           MAGISTRATE JUDGE

Dated:       Rochester, New York
             January@, 2022




                                      12
